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12 Attorneys for Plaintiffs and the Plaintiff Class

13
                                    UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
15

16   ILIANA PEREZ, an individual, FLAVIO              Case No. 3:20-cv-06896-SI
     GUZMAN MAGAÑA, an individual, and
17   JOSUE JIMENEZ MAGAÑA, an individual,             STIPULATION AND [PROPOSED]
     on behalf of themselves and all others           ORDER FOR MODIFIED BRIEFING
18                                                    SCHEDULE ON PLAINTIFF’S MOTION
     similarly situated,                              FOR LEAVE TO FILE MOTION FOR
19                                                    PARTIAL RECONSIDERATION
                                     Plaintiffs,
20          vs.                                       Judge: Susan Illston
                                                      Hearing Date: December 3, 2021
21                                                    Time: 10:00 a.m.
     DISCOVER BANK, a Delaware corporation,
22                         Defendant.

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                                                           STIPULATION FOR MODIFIED BRIEFING
                                                                     SCHEDULE ON PLAINTIFF’S
      Case No. 3:20-cv-06896-SI                          MOTION FOR PARTIAL RECONSIDERATION
                Case 3:20-cv-06896-SI Document 65 Filed 11/10/21 Page 2 of 6



 1          Plaintiffs Iliana Perez, Flavio Guzman Magaña and Josue Jimenez Magaña (“Plaintiffs”)
 2 and Defendant Discover Bank (“Discover” and together with Plaintiffs, the “Parties”), by and

 3 through their respective counsel of record, stipulate as follows:

 4
            WHEREAS, on October 14, 2021, Plaintiff Iliana Perez (“Plaintiff Perez”) filed her
 5
     Motion for Leave to File a Motion for Partial Reconsideration (ECF No. 55) (the “Motion”);
 6

 7          WHEREAS, at the time of filing, Plaintiff requested a hearing for November 19, 2021,

 8 which was rescheduled by this Court to December 3, 2021 (ECF No. 58);

 9          WHEREAS, pursuant to this Court’s Notice Setting Briefing Schedule and Hearing (ECF
10
     No. 58), Plaintiff Perez’s Reply Brief is due by November 12, 2021;
11
            WHEREAS, to permit Plaintiff Perez additional time to adequately brief the issues raised
12
     by the Motion and Opposition and to account for various absences of Plaintiffs’ counsel during
13
     the week of November 8, 2021, the Parties have agreed to modify the briefing schedule; and
14

15          WHEREAS, this Stipulation is made in good faith and will not impact any other
16 deadlines set by this Court.

17
            IT IS HEREBY STIPULATED, by and between Plaintiffs and Discover, that the
18
     following schedule apply:
19
            Plaintiff Perez’s deadline to file her Reply in Support of her Motion for Partial
20
     Reconsideration is November 19, 2021.
21

22
     Dated: November 9, 2021                              /s/ Deylin Thrift-Viveros______________
23
                                                          MEXICAN AMERICAN LEGAL
24                                                        DEFENSE AND EDUCATIONAL FUND
                                                          Deylin O. Thrift-Viveros
25                                                        Thomas A. Saenz
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                                                              STIPULATION FOR MODIFIED BRIEFING
                                                             SCHEDULE ON PLAINTIFF’S MOTION FOR
      Case No. 3:20-cv-06896-SI                                       PARTIAL RECONSIDERATION
               Case 3:20-cv-06896-SI Document 65 Filed 11/10/21 Page 3 of 6



 1                                             OUTTEN & GOLDEN LLP
                                               Ossai Miazad (admitted pro hac vice)
 2                                             Mikael Rojas
 3
                                               Attorneys for Plaintiffs and the Plaintiff
 4                                             Class

 5 Dated: November 9, 2021                     /s/Arjun P. Rao________________
                                               STROOCK & STROOCK & LAVAN LLP
 6                                             Julia B. Strickland
 7                                             Arjun P. Rao
                                               Ali Fesharaki
 8
                                               Attorneys for Defendant
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                                                   STIPULATION FOR MODIFIED BRIEFING
                                                  SCHEDULE ON PLAINTIFF’S MOTION FOR
     Case No. 3:20-cv-06896-SI                             PARTIAL RECONSIDERATION
               Case 3:20-cv-06896-SI Document 65 Filed 11/10/21 Page 4 of 6



 1                               ECF SIGNATURE CERTIFICATION
 2 Pursuant to Local Rule 5-1(i)(3), I hereby certify that the content of this document is acceptable

 3 to Arjun Rao, counsel for Discover Bank, and that I have obtained Mr. Rao’s authorization to

 4 affix his electronic signature to this document.

 5

 6 Dated: November 9, 2021                       By:                        /s/
                                                                   Deylin Thrift-Viveros
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                                                             STIPULATION FOR MODIFIED BRIEFING
                                                            SCHEDULE ON PLAINTIFF’S MOTION FOR
     Case No. 3:20-cv-06896-SI                                       PARTIAL RECONSIDERATION
                Case 3:20-cv-06896-SI Document 65 Filed 11/10/21 Page 5 of 6



 1                                       CERTIFICATE OF SERVICE
 2 I hereby certify that on November 9, 2021, a copy of the foregoing STIPULATION AND

 3 [PROPOSED] ORDER FOR MODIFIED BRIEFING SCHEDULE ON PLAINTIFF’S

 4 MOTION FOR RECONSIDERATION was filed electronically and served by U.S. Mail on

 5 anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties

 6 by operation of the court’s electronic filing system or by mail to anyone unable to accept

 7 electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

 8 through the court’s EM/ECF System.

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10
                                                            /s/
11                                                        Deylin Thrift-Viveros
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                                                               STIPULATION FOR MODIFIED BRIEFING
                                                              SCHEDULE ON PLAINTIFF’S MOTION FOR
     Case No. 3:20-cv-06896-SI                                         PARTIAL RECONSIDERATION
               Case 3:20-cv-06896-SI Document 65 Filed 11/10/21 Page 6 of 6



 1                                         [PROPOSED] ORDER
 2         Based on the above Stipulation for Modified Briefing Schedule on Plaintiff’s Motion to
 3 for Partial Reconsideration and otherwise being fully informed,

 4         IT IS HEREBY ORDERED THAT:
 5                          1.   Plaintiff’s deadline to file their Reply in Support of their Motion
 6                               for Partial Reconsideration is November 19, 2021.
 7         IT SO ORDERED this ___
                              10 day of ________,
                                        November2021.
 8
                                                THE HON. SUSAN ILLSTON
 9                                              U.S. DISTRICT COURT JUDGE
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                                                       [PROPOSED] ORDER FOR MODIFIED BRIEFING
                                                           SCHEDULE ON PLAINTIFF’S MOTION FOR
     Case No. 3:20-cv-06896-SI                                      PARTIAL RECONSIDERATION
